B6F (Official Form 6F) (12/07)


In re     Netwurx, Inc.                                                                                                     Case No.       08-26131
                                                                                                ,
                                                                 Debtor                                                                                   (If known)


                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
   without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account
   the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
   creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
   Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
   creditors will not fit on this page, use the continuation sheet provided.

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
   entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife,
   both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
   or Community.”

         If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
   “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these
   three columns.)

         Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total
   also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical
   Summary of Certain Liabilities and Related Data..

         q            Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


                     CREDITOR'S NAME,                                                             DATE CLAIM WAS                                                         AMOUNT OF
                     MAILING ADDRESS                                                               INCURRED AND                                                            CLAIM
                   INCLUDING ZIP CODE,                                                         CONSIDERATION FOR
                  AND ACCOUNT NUMBER                                                                   CLAIM.
                   (See instructions above.)                                                  IF CLAIM IS SUBJECT TO
                                                                                                 SETOFF, SO STATE


 ACCOUNT NO.                                                                                                                                                                  8,251.56

 Air Wireless
 280 Regency Court
 Brookfield, WI 53027




 ACCOUNT NO.                                                                                                                                                                    165.00

 Allar Unlimited
 7625 Pond Rd.
 Hartford, WI 53027




                 12    Continuation sheets attached

                                                                                                                                                      Subtotal   Ø   $         8,416.56



                                                                                                                                                                     $
                                                                                                                                                         Total   Ø

                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)




                                      Case 08-26131-svk                    Doc 14             Filed 06/20/08                        Page 1 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.                                                                                                                                                                         394.35

  Alpine Communications
  1321 Tower Rd.
  Schaumburg, IL 60173




 ACCOUNT NO.          Multiple account numbers                                                                                                                                    337,674.46

  AT&T
  P.O. Box 8100
  Aurora, IL 60507-8100




 ACCOUNT NO.          141 R22 8451 143 2                                                                                                                                           45,000.00

  AT&T Advertising
  P.O. Box 8100
  Aurora, IL 60507-8100




 ACCOUNT NO.          529235732                                                                                                                                                    42,587.00

  AT&T Alliant Law Group
  P.O. Box 8100
  Aurora, IL 60507-8100




 ACCOUNT NO.          4184                                                                                                                                                         19,589.75

  AT&T Caps
  P.O. Box 8100
  Aurora, IL 60507-8100




Sheet no. 1 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $       445,245.56
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 2 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.          7211                                                                                                                                                        211,489.19

  AT&T Combo
  P.O. Box 8100
  Aurora, IL 60507-8100




 ACCOUNT NO.          829235732                                                                                                                                                    30,828.11

  AT&T Internet
  P.O. Box 8100
  Aurora, IL 60507-8100




 ACCOUNT NO.          421                                                                                                                                                          13,125.72

  Bertram Communications
  300 Industrial Dr.
  Random Lake, WI 53075




 ACCOUNT NO.                                                                                                                                                                         302.02

  Business Technologies
  8633 111th Ave.
  Pleasant Prairie, WI 53158




 ACCOUNT NO.          1605                                                                                                                                                             12.56

  Century Spring
  P.O. Box 275
  Genesee Depot, WI 53127




Sheet no. 2 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $       255,757.60
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 3 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.          301225861                                                                                                                                                      541.98

  CenturyTel
  P.O. Box 6000
  Marion, LA 71260-6000




 ACCOUNT NO.                                                                                                                                                                       5,334.81

  CenturyTel
  P.O. Box 4065
  Monroe, LA 71291-4065




 ACCOUNT NO.                                                                                                                                                                      34,219.48

  Charter
  P.O. Box 78224
  Milwaukee, WI 53278




 ACCOUNT NO.                                                                                                                                                                       3,689.01

  City of Hartford
  109 N. Main St.
  Hartford, WI 53027




 ACCOUNT NO.          3318-00                                                                                                                                                      4,500.00

  City of New Berlin
  3805 S. Casper Dr.
  New Berlin, WI 53151




Sheet no. 3 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $        48,285.28
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 4 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.                                                                                                                                                                       2,500.00

  Cogent
  P.O. Box 791087
  Baltimore, MD 21279-1087




 ACCOUNT NO.          1004508                                                                                                                                                        212.23

  D&D Muffler
  507 W. Sumner St.
  Hartford, WI 53027




 ACCOUNT NO.          501-88B4037-0C2                                                                                                                                              1,980.74

  Dell Financial
  12234 N I H 35
  Building B
  Austin, TX 75753


 ACCOUNT NO.          13836120                                                                                                                                                     2,173.82

  Dell Financial Services, LLC
  Collections/Consumer Bankruptcy
  12234B North I-35
  Austin, TX 78753-1705


 ACCOUNT NO.          135863                                                                                                                                                          39.20

  E-Vergent
  8332 Corporate Dr.
  Racine, WI 53406




Sheet no. 4 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $         6,905.99
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 5 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.          7380                                                                                                                                                           475.00

  Express News
  P.O. Box 335
  Germantown, WI 53022




 ACCOUNT NO.                                                                                                                                                                      180,000.00

  Eyecom
  455 E. Industrial Dr.
  P.O. Box 620
  Hartland, WI 53029


 ACCOUNT NO.                                                                                                                                                                        1,566.21

  Gigahertz
  36 Jewelers Park Dr.
  Suite 200
  Neenah, WI 54956


 ACCOUNT NO.          WI-5056-07856/WI-5052-07719                                                                                                                                   5,514.28

  Global Tower Partners
  P.O. Box 8312
  Fort Lauderdale, FL 33310




 ACCOUNT NO.                                                                                                                                                                         283.40

  Hartford Areas Chamber
  P.O. Box 270305
  Hartford, WI 53027




Sheet no. 5 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $       187,838.89
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 6 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.                                                                                                                                                                       2,546.90

  Hustisford Utilities
  443 E. Griffith St.
  Hustisford, WI 53034




 ACCOUNT NO.                                                                                                                                                                       1,712.00

  Lemberg Electric
  730 N. 109th St.
  Wauwatosa, WI 53213




 ACCOUNT NO.          5490-9924-7240-9410                                                                                                                                         16,718.18

  MBNA Platinum Plus
  P.O. Box 15019
  Wilmington, DE 19886




 ACCOUNT NO.                                                                                                                                                                       2,257.38

  Midwest Tower
  P.O. box 8312
  Fort Lauderdale, FL 33310




 ACCOUNT NO.                                                                                                                                                                         272.56

  Nebs
  500 Main St.
  Groton, MA 01471




Sheet no. 6 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $        23,507.02
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 7 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.                                                                                                                                                                          25.00

  Network Hardware Resale
  26 Castilian Dr., Ste. A
  Santa Barbara, CA 93117




 ACCOUNT NO.                                                                                                                                                                         457.92

  Northern Data
  P.O. Box 3465
  Oshkosh, WI 54903




 ACCOUNT NO.                                                                                                                                                                      15,000.00

  Pamela A. Maher                                                                   Loan to secure law firm for bankruptcy
  2858 N. Murray Ave.
  Milwaukee, WI 53211




 ACCOUNT NO.                                                                                                                                                                      61,000.00

  Peter and Jane Maher                                                              Loan to purchase equipment and for old
  1273 Kennedy Dr.                                                                  expense reports
  Hartford, WI 53027




 ACCOUNT NO.                                                                                                                                                                         734.83

  Pitney Bowes
  P.O. Box 856390
  Louisville, KY 40285




Sheet no. 7 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $        77,217.75
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 8 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.                                                                                                                                                                       2,638.73

  Print Haus
  23 S. Main St.
  Hartford, WI 53027




 ACCOUNT NO.                                                                                                                                                                       6,565.00

  Reilly Pennter & Benton
  611 N. Broadway, Ste. 300
  Milwaukee, WI 53202




 ACCOUNT NO.                                                                                                                                                                         461.48

  Satellite Communications
  P.O. Box 665
  Elm Grove, WI 53122-0665




 ACCOUNT NO.          WI21167-a-05                                                                                                                                                   459.39

  SBA Structures
  5900 Broken Sound Parkway NW
  Boca Raton, FL 33487




 ACCOUNT NO.          714595386                                                                                                                                                    3,293.61

  Sprint Phones
  P.O. Box 4181
  Carol Stream, IL 60197




Sheet no. 8 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $        13,418.21
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                        Case 08-26131-svk                          Doc 14          Filed 06/20/08                        Page 9 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                         Case No.       08-26131
                                                                                                     ,
                                                                          Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                       CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                                  INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                            CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                      CLAIM.
                     (See instructions above.)                                                     IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE


 ACCOUNT NO.          450993121                                                                                                                                                        20.91

  Sprint, LLC
  P.O. Box 219100
  Kansas City, MO 64121




 ACCOUNT NO.          608-280-1059; 825-526-1048; 6                                                                                                                               101,292.75

  TDS
  P.O. Box 94810
  Palatine, IL 60094




 ACCOUNT NO.                                                                                                                                                                           50.00

  The Booster
  31 W. Sumner St.
  Hartford, WI 53027




 ACCOUNT NO.          515284-02                                                                                                                                                     8,448.00

  Time Warner
  P.O. Box 511700
  Milwaukee, WI 53203




 ACCOUNT NO.                                                                                                                                                                        4,467.00

  Total Comfort
  W234 N2830 Paul Rd.
  Pewaukee, WI 53072




Sheet no. 9 of 12 continuation sheets attached to Schedule of Creditors                                                                                    Subtotal   Ø   $       114,278.66
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                          $
                                                                                                                                                              Total   Ø

                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)




                                       Case 08-26131-svk                           Doc 14        Filed 06/20/08                         Page 10 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                      Case No.       08-26131
                                                                                                  ,
                                                                       Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                  (Continuation Sheet)


                       CREDITOR'S NAME,                                                             DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                               INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                         CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                   CLAIM.
                     (See instructions above.)                                                  IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE


 ACCOUNT NO.                                                                                                                                                                    4,000.00

  Town of Erin
  1846 State Hwy 83 South
  Hartford, WI 53027




 ACCOUNT NO.                                                                                                                                                                    1,714.87

  Towne Realty
  Dept. 00613
  Milwaukee, WI 53529




 ACCOUNT NO.          92538694; 81322319                                                                                                                                        4,996.24

  US Cellular
  P.O. Box 0203
  Palatine, IL 60065




 ACCOUNT NO.                                                                                                                                                                   21,875.54

  Verizon
  P.O. Box 920042
  Dallas, TX 75392




 ACCOUNT NO.                                                                                                                                                                    3,000.00

  Viking Communications
  1421 South 62nd St.
  Milwaukee, WI 53214




Sheet no. 10 of 12 continuation sheets attached to Schedule of Creditors                                                                                Subtotal   Ø   $        35,586.65
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                       $
                                                                                                                                                           Total   Ø

                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                     (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)




                                       Case 08-26131-svk                        Doc 14        Filed 06/20/08                         Page 11 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                      Case No.       08-26131
                                                                                                  ,
                                                                       Debtor                                                                               (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                  (Continuation Sheet)


                       CREDITOR'S NAME,                                                             DATE CLAIM WAS                                                         AMOUNT OF
                       MAILING ADDRESS                                                               INCURRED AND                                                            CLAIM
                     INCLUDING ZIP CODE,                                                         CONSIDERATION FOR
                    AND ACCOUNT NUMBER                                                                   CLAIM.
                     (See instructions above.)                                                  IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE


 ACCOUNT NO.          9213-142-234;7075-599-706; 3                                                                                                                              1,426.29

  WE Energies
  Box 70474
  Milwaukee, WI 53270




 ACCOUNT NO.          10552                                                                                                                                                       154.00

  Webcelerate
  473 Sapera Ct, Ste. 3
  Santa Clara, CA 95054




 ACCOUNT NO.          Monthly                                                                                                                                                   2,700.00

  White Elephant Realty
  P.O. Box 270034
  Hartford, WI 53027




 ACCOUNT NO.                                                                                                                                                                      350.00

  Winter Summer Storage
  N1897 Hwy M
  Watertown, WI 53092




 ACCOUNT NO.                                                                                                                                                                      673.49

  Yellowbook IL
  P.O. Box 586
  Newark, NJ 07101-586




Sheet no. 11 of 12 continuation sheets attached to Schedule of Creditors                                                                                Subtotal   Ø   $         5,303.78
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                       $
                                                                                                                                                           Total   Ø

                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                     (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)




                                       Case 08-26131-svk                        Doc 14        Filed 06/20/08                         Page 12 of 13
B6F (Official Form 6F) (12/07) - Cont.


In re      Netwurx, Inc.                                                                                                      Case No.       08-26131
                                                                                                  ,
                                                                       Debtor                                                                               (If known)


                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                  (Continuation Sheet)


                        CREDITOR'S NAME,                                                            DATE CLAIM WAS                                                         AMOUNT OF
                        MAILING ADDRESS                                                              INCURRED AND                                                            CLAIM
                      INCLUDING ZIP CODE,                                                        CONSIDERATION FOR
                     AND ACCOUNT NUMBER                                                                  CLAIM.
                      (See instructions above.)                                                 IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE


 ACCOUNT NO.          377608                                                                                                                                                     1,111.39

  Yellowbook Madison
  P.O. Box 6448
  Carol Stream, IL 60197




Sheet no. 12 of 12 continuation sheets attached to Schedule of Creditors                                                                                Subtotal   Ø   $         1,111.39
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                       $      1,222,873.34
                                                                                                                                                           Total   Ø

                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                     (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)




                                       Case 08-26131-svk                        Doc 14        Filed 06/20/08                         Page 13 of 13
